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                                   IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF TEXAS
                                            HOUSTON DIVISION

UNITED STATES OF AMERICA                                             §
                                                                     §
                                                                     §
                                                                     §
VS.                                                                  §   CRIMINAL ACTION NO. H-11-165-3
                                                                     §   CIVIL ACTION NO. H-15-1083
                                                                     §
                                                                     §
DIN REGINA CHANEY                                                    §

                                             MEMORANDUM AND OPINION

           Din Regina Chaney filed this motion under 28 U.S.C. § 2255 to vacate her conviction and

sentence. Chaney was indicted with others for conspiring to commit mail fraud, wire fraud, and
                                                                                      :a
bank fraud from January 2005 through April 2009, in violation of 18 U.S.C. §§ 1341, 1343, 1344

and 1349, and for conspiring to commit money laundering, in violation of 18 U.S. C. §§ 1956(h).

The indictment arose from a mortgage-loan fraud scheme. In June 2011, Chaney pleaded guilty

under a written Rule 11 (c)(1 )(B) plea agreement in which she waived her rights to appeal and to

collaterally attack her sentence in a postconviction motion. In July 2014, the court sentenced Chaney

to a 36-month prison sentence followed by 5 years of supervised release, and imposed restitution in

the amount of$4,551,917.65. Chaney did not appeal.

           The motion to vacate is based on Chaney's allegations that her counsel's failure to appeal

was ineffective assistance. She also alleges that defense counsel failed to challenge the loss

restitution amounts attributed to her. Finally, Chaney challenges her conviction on the ground that

her plea was· involuntary because she did not understand the nature of the charge and the

consequences of the plea. The government moves to dismiss all Chaney's claims. (Docket Entry

No. 516).

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I.         The Standard of Review

           Once an appeal of a conviction is exhausted or, if the right to appeal was waived, courts are

"entitled to presume that the defendant stands fairly and finally convicted." United States v. Willis,

273 F.3d 592, 595 (5th Cir. 2001) (citing United States v. Frady, 456 U.S. 152, 164, 102 S. Ct. 1584,

1594 (1982) ("[A] collateral challenge may not do service for an appeal."); United States v. Shaid,

937 F.2d 228,231-32 (5th Cir. 1991». Motions to vacate sentences "may raise only constitutional

errors and other injuries that could not have been raised on direct appeal that will result in a

miscarriage of justice ifleft unaddressed." United States v. Williamson, 183 F.3d 458,462 (5th Cir.

1999) (citations omitted).

           A claim of ineffective assistance of counsel has two components:

           First, the defendant must show that counsel's performance was deficient. This
           requires showing that counsel made errors so serious that counsel was not
           functioning as the 'counsel' guaranteed the defendant by the Sixth Amendment.
           Second, the defendant must show that the deficient performance prejudiced the
           defense. This requires showing that counsel's errors were so serious as to deprive the
           defendant of a fair trial, a trial whose result is unreliable.

Strickland v. Washington, 426 U.S. 668, 686, 104 S. Ct. 2052,2064 (1984). The movant has the

burden of proof. To show deficient performance, the movant must overcome a strong presumption

that trial counsel's conduct falls within the wide range of reasonable professional assistance.

Strickland, 466 U.S. at 689, 104 S. Ct. at 2065-66. Showing prejudice requires "a reasonable

probability" that "but for counsel's unprofessional errors, the result of the proceeding would have

been different. A reasonable probability is a probability sufficient to undermine confidence in the

outcome." !d. at 694,2068. The Supreme Court recently explained the prejudice prong:

           In assessing prejudice under Strickland, the question is not whether a court can be
           certain counsel's performance had no effect on the outcome or whether it is possible


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           a reasonable doubt might have been established if counsel acted differently. Instead,
           Strickland asks whether it is "reasonably likely" the result would have been different.
           This does not require a showing that counsel's actions "more likely than not altered
           the outcome," but the difference between Strickland's prejudice standard and a more-
           probable-than-not standard is slight and matters "only in the rarest case." The
           likelihood of a different result must be substantial, not just conceivable.

Harrington v. Richter, _                 U.S. _ , 131 S. Ct. 770,791 92 (2011) (internal citations omitted).

           If the movant fails to prove one prong, it is not necessary to analyze the other. Armstead v.

Scott, 37 F. 3d 202, 210 (5th Cir. 1994), cert. denied, 514 U.S. 1071 (1995) (" A court need not

address both components of the inquiry if the defendant makes an insufficient showing on one.").

           Chaney is pro se. Her pleadings are reviewed under a less stringent standard than pleadings

drafted by attorneys and are entitled to a liberal construction, see Haines v. Kerner, 404 U.S. 519

(1972), but she must allege sufficient facts to support her claims. United States v. Pineda, 988 F.2d

22,23 (5th Cir. 1993) (emphasis added).

II.        The Plea and Sentence

           The plea agreement Chaney signed in open court, under oath, after an extended Rule 11

colloquy, contained the following detailed factual basis:

           17.       Defendant is pleading guilty because she is guilty of the charges contained in
           Counts One and Two of the Superseding Indictment. If this case were to proceed to
           trial, the United States could prove each element of the offenses beyond a reasonable
           doubt. The following facts, among others would be offered to establish the
           defendant's guilt:

                   The defendant, Din Regina Chaney, a.k.a Din Ironkwe (hereinafter
           CHANEY), participated in the mortgage fraud scheme alleged in Count One of the
           indictment as a loan officer, as well as borrower. She worked in the lending industry
           as a loan officer in associated with the mortgage broker at Stephens Development Inc
           (also known as SDI Mortgage) and Gordon Financial Group. CHANEY utilized her
           position as a loan officer as well as her contacts within the lending industry to obtain
           mortgage loans by fraud.



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                    Residential mortgage loans were applied for using material false information
           and misrepresentations regarding the borrower's creditworthiness. The deceptions
           regarding borrower creditworthiness included but were not limited to employment,
           income, cash on deposit, and indebtedness. The debt to income ratio was
           manipulated to make the borrower's loan application fit within the lending guidelines
           of the lender. CHANEY knew of the false nature of the information provided in the
           loan submissions and knew and had reason to believe would be material to the
           Lenders' decisions to fund the mortgage loans.

                   Individuals with good credit were recruited to act as borrowers in these
           transactions. The borrowers were recruited as real estate investors whose only
           investment in the transaction would be their good credit. Frequently, the loans were
           submitted with the false representation that the purchase was for the borrower's
           primary residence so that 100% financing could be obtained. Funds needed to close
           the transaction, including earnest money and buyer closing costs, were paid by one
           of the conspirators in a fashion which made it appear that the source of the funds was
           the borrower. The borrowers were paid with proceeds from the fraud for their
           participation in the acquisition of the property.

                    The fraudulent loan applications and supporting documents were furnished
           to the lenders by the United States mail or interstate commercial carrier (hereinafter
           mail) and through electronic transfers such as E-mail and facsimiles. The false
           information and misrepresentations were material to the lenders' decision to fund the
           residential loans and under what conditions they would fund the loans. Loan
           transaction documents were also electronically transferred or mailed to the lenders
           by the title companies. To fund the loans, lenders would wire transfer the loan funds
           to the title company's escrow. Fed Wire has confirmed that these wire transfers
           crossed state lines at least once when the wire moved through the Federal Reserve
           Bank in New York, was settled through Fed Wire in New Jersey, and then sent to the
           escrow accounts of the title companies in Texas. Some of the fraudulently obtained
           mortgage loans were obtained by the conspirators from lending institutions which
           were insured by the Federal Deposit Insurance Corporation (FDIC) including Bank
           of Oklahoma, JP Morgan Chase Bank, Wells Fargo Bank, Patriot Bank, IndyMac
           Bank and Flagstar Bank. The majority of the loans obtained during the fraudulent
           scheme fell into default and the properties were foreclosed.

                   CHANEY established and used the assumed name entity Panacea Properties
           in the execution of the scheme. She also established bank accounts under the name
           of Panacea Properties. CHANEY's co-conspirators also established assumed name
           business entities with corresponding bank accounts which were used during the
           execution of the scheme including J&C Management Investments, CC San
           Enterprises, Webber and Associates, Camden Enterprises, Wentworth Management,
           and Chulo Construction.


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                   The fraudulent property transactions were structured so that loan proceeds
           could be extracted for the benefit of the conspirators and ultimately deposited into
           one or more of the assumed name bank accounts. These fraudulently obtained funds
           were used to fund future fraudulent property transactions, including earnest money
           payments and/or closing costs, as well as payouts to conspirators. When a
           conspirator paid a borrower's closing cost or earnest money, lenders were led to
           believe the source of those funds was the borrower. The payment of these expenses
           by a borrower is a factor considered by lenders in evaluating the incentive of
           borrowers to repay loans.

                    CHANEY was a loan officer at Gordon Financial Group when she assisted
           co-conspirator Nathaniel Gordon, III in the purchase of 1511 W. 15th Street,
           Houston, TX for $289,000. The loan application signed by both CHANEY and
           Gordon and submitted to the lender misrepresented Gordon's assetslincome and
           liabilities and misrepresented that this residence was to be Gordon's primary
           residence. In support of that loan application false tax returns were submitted to the
           lender which inflated Gordon's income in 2005 and 2006. Bank statements from
           Morgan Stanley were supplied to the lender for account: XXXX943001 in support
           of the loan application. Those statements were falsified to reflect the account was
           held in Gordon's name and that he had a balance in excess of$1 0,000 in this account.
           Investigative agents obtained copies of account XXXX943 00 1, for the same period
           reflected in the statements provided to the lender, directly from Morgan Stanley and
           learned that account number was assigned to a person other Nathaniel Gordon.

                   At the time this property was purchased by Gordon in August 2007, three
           other properties were previously purchased in his name. Each of those properties
           Gordon claimed to be purchasing as his primary residence when he obtained the
           financing for those purchases in December 2005 and July and August 2006. To
           offset this indebtedness and to explain how this fourth property on 15th Street was
           to be Gordon's primary residence, lease agreements for these three properties were
           provided to the lender which were fabricated.

                  IndyMac Bank, a federally insured financial institution, ultimately funded this
           loan by way of a wire transfer from California to the Texas title company. Funds
           were extracted from this transaction to an assumed name bank account established
           by Gordon, Webber and Associates.

                  Six months after this property was purchased by Gordon, he sold it for
           $435,000 to a straw borrower, Artist Johnson, recruited by co-conspirator Dennis
           Hannah. The lender for this subsequent purchase was JP Morgan Chase, an FDIC
           insured institution. Co-conspirator Catherine Sanoubane was employed by JP
           Morgan Chase as a loan officer and originated this loan in the name of Artist
           Johnson. Johnson's loan application and supporting documentation contained
           material misrepresentations regarding his creditworthiness.


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                   Mortgage insurance was canceled by the carrier after fraud was discovered
           concerning Johnson's assets and income. It was determined that the pay documents
           were falsified in order to obtain the loan and that Johnson did not pay the $21,155.92
           at closing as represented. CHANEY purchased the cashier's check payable to the
           title company in the amount of $21,155.92 and listed Artist Johnson as the remitter
           of those funds. The funds to purchase the check were taken by CHANEY from her
           Panacea Properties bank account at Wells Fargo.

                   Johnson contacted Chase attempting a workout of this loan that had fallen
           into default. Information was collected from Johnson which directly contradicted the
           information in his loan application. Johnson did not occupy 1511 W. 15th as his
           primary residence. His actual income was significantly less than reported. The 2006
           tax returns submitted to Chase during the loan processing stated Johnson's adjusted
           gross income was $256,816. The 2006 tax return Chase later obtained from Johnson
           showed adjusted gross income of$72,201. Johnson was attempting to sell 1511 W.
           15th while attempting to negotiate a workout with Chase. Although he borrowed
           $413,250 in February 2008 to purchase the property, Johnson claimed the most he
           could sell the property for in February 2009 was $205,000. Ultimately JP Morgan
           Chase foreclosed and took a loss on this transaction.

                   Gordon received $127,671.05 in seller proceeds from the title company after
           this transaction closed. He paid CHANEY, Sanoubane and Hannah for their
           participation in this fraudulent transaction. He also reimbursed Panacea Properties
           the money used to pay Johnson's closing costs.

                   On numerous occasions during the scheme, conspirators took funds obtained
           by wire fraud and used a portion of those funds to pay closing costs or earnest money
           on a subsequent fraudulent transaction. The true source of the funds was concealed
           and hidden from the lender and it was made to appear the funds were coming from
           the borrower. CHANEY obtained loans on lines of credit she established at a
           financial institution based on false and fraudulent information. The bank in
           California wire transferred those loan funds to her bank account in Texas. CHANEY
           used those fraudulently 0 btained funds to pay the closing costs on properties acquired
           during the mortgage fraud scheme. The lenders were led to believe the source of
           these funds were the borrowers.

(Docket Entry No. 81, pp. 10-17).

           A.         The Rearraigment

           The Rule 11 (c)( 1)(B) plea agreement provided that Chaney would plead guilty to the two

counts against her in the superseding indictment. The government agreed not to oppose a three-level


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downward adjustment for timely acceptance of responsibility. The government also agreed that if

Chaney provided assistance that the government found substantial, the government would file a

§ 5Kl.l motion at sentencing asking for a below-Guideline sentence. (Docket Entry No. 81, ~13).

            Chaney waived her right to appeal or to file a collateral challenge to her conviction or

sentence. The waiver provision in the plea agreement states:

           9. Defendant is aware that Title 18, U.S.C. § 3742 affords a defendant the right to
           appeal the sentence imposed. The defendant agrees to waive the right to appeal the
           sentence imposed or the manner in which it was determined. The defendant may
           appeal only a sentence imposed above the statutory maximum. A~ditionally, the
           defendant is aware that Title 28, U.S.C. § 2255, affords the right to contest or
           "collaterally attack" a conviction or sentence after the conviction or sentence has
           become final. The defendant waives the right to contest her conviction or sentence
           by means of any post-conviction proceeding.

ld., ~9. The plea agreement also stated:

           12. The defendant understands and agrees that each and all waivers contained in the
           Agreement are made in exchange for the concessions made by the United States in
           this plea agreement. If the defendant instructs her attorney to file a notice of appeal
           at the time sentence is imposed or at any time thereafter, the United States will seek
           specific performance of these provisions.

(ld., ~12). Chaney signed under the following paragraph:

                                              PLEA AGREEMENT - ADDENDUM

           I have consulted with my attorney and fully understand all my rights with respect to
           the indictment pending against me. My attorney has fully explained and I understand
           all my rights with respect to the provisions of the United States Sentencing
           Commission's Guidelines Manual which may apply in my case. I have read and
           carefully reviewed every part of this plea agreement with my attorney. I understand
           this agreement and I voluntarily agree to its terms.

(ld., p. 20).

           On June 29,2011, Chaney appeared with counsel for rearraignment before United States

Magistrate Judge Milloy and pleaded guilty under the written Rule 11 (c)(1 )B) plea agreement. Judge


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Milloy determined that Chaney was competent to plead guilty and "fully understood the

admonishments under Rule 11 of the Federal Rules of Criminal Procedure." (Docket Entry No. 82).

After the government summarized the written plea agreement, the judge explained that the district

court would consult the Sentencing Guidelines in determining Chaney'S sentence and outlined the

range of the possible prison term, the fine and restitution amounts, supervised release, and the

statutory fee assessment.

           At the rearraignment, Chaney was placed under oath. She acknowledged that she had had

"enough time to talk to [her counsel] about [her] case so that [she felt] comfortable in going forward

this afternoon. (Jd., p.6). After the prosecutor stated the charges against her, Chaney confirmed that

those charges were the ones she had discussed with her attorney, that she was satisfied with the

advice he had given her and with the assistance he had given her throughout. (Jd., p. 8). The judge

expressly admonished Chaney as follows:

           THE COURT: All right. I need you to understand that you have the right to continue
           in your plea of not guilty. If you did proceed with or persist in a plea of not guilty,
           you would be entitled to have a trial in this matter. At that trial, the Government
           would be held to their obligation to prove the case beyond a reasonable doubt. Do
           you understand that?

(Jd., p. 10-11). Chaney confirmed that she understood. She continued to confirm, under oath, that

she understood all the judge's admonishments, including that Chaney was "agreeing to waive [her]

right to any collateral attack on the conviction or the sentence if [she] is found guilty in this case."

(Jd.).    Chaney understood that she "couldn't come back later and complain about either the

conviction or the sentence that [she received] because of [her] agreement not to do so." (Id. p. 14).

After the government recited the terms of the plea agreement, Chaney confirmed that that was the

agreement she had reached in exchange for her guilty plea. (Jd. p. 15). After acknowledging that


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she understood all the additional admonishments, Chaney stated that she had no questions about

anything the court had said. (ld., p. 20).

            The government then recited the lengthy factual basis, and had the following colloquy with

Chaney:

           THE COURT: Ms. Chaney, after having been reminded of what the accusations are,
           being reminded of the range of punishment that is applicable to either of these
           charges, having been admonished about the consequences of a plea of guilty, and
           having heard what the Government would prove at trial in this matter, how do you
           plead to Count 1 and 2 of this Indictment?

           DEFENDANT CHANEY: Guilty, Your Honor.

           THE COURT: So is it your statement here under oath that everything they've said
           about you is true in Indictment?

           DEFENDANT CHANEY: Yes.

           THE COURT: And do I understand that you have talked with Mr. Alston at some
           length before you came here to Court and before you made that agreement with Ms.
           Annis in regard to pleading guilty to this charge; is that correct?

           DEFENDANT CHANEY: Yes, Your Honor.

           THE COURT: Did anyone threaten you in any way so that you would enter a plea of
           guilty here this afternoon?

           DEFENDANT CHANEY: No.

           THE COURT: Were you promised anything other than the contents of the Plea
           Agreement in order to get you to plead guilty here this afternoon?

           DEFENDANT CHANEY: No, Your Honor.

           THE COURT: And, again, Ijust to remind you that even though the Government has
           said here in Court that they will recommend a lower sentence if you cooperate, that's
           all in their hands, and you understand that you are pleading here this afternoon
           without any guarantee that, that in fact will happen; is that clear?

           DEFENDANT CHANEY: Yes, Your Honor.


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           THE COURT: Mr. Alston, do you have any questions you wish to put to Ms. Chaney
           or Ms. Chaney do you have any questions you wish to put to Mr. Alston before we
           proceed?

           DEFENDANT CHANEY: No, Your Honor.

           MR. ALSTON: No, Your Honor.

           THE COURT: Are you ready to sign the Plea Agreement at this time?

           DEFENDANT CHANEY: Yes.

(Id., p. 28~29). Chaney swore that the matters and pleas contained in the plea agreement were true

and correct to the best of her knowledge and that she was signing the plea agreement of her own free

will. Judge Milloy then stated the findings and recommendations that she would make to the district

court:

           That you are clearly mentally competent and capable of entering an informed plea of
           guilty.

           I find that the pleas are supported by the independent facts as detailed by Ms. Annis
           this afternoon and in that written Plea Agreement and that each of those establish the
           elements of the offense.

           I find that your pleas to Count I and 2 of the Indictment are made voluntarily, freely,
           and knowingly, and that each ~ ~ and that you understand the nature of the
           proceedings and the consequences of your guilty plea.

           I am going to recommend that she accept the guilty pleas and find you guilty as to
           Count I and 2 of the charges in the Indictment that relate to you.

Id. p. 31.

           Judge Milloy found that:

           1.          the defendant, with the advice of her attorney, has consented orally and in
                      writing to enter her guilty plea before the magistrate judge, subject to final
                      approval and sentencing by the district judge;

           2.         the defendant fully understands the nature of the charges and penalties;


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           3.          the defendant understands her constitutional and statutory rights and wishes
                       to waive these rights;

           4.          the defendant's plea is made freely and voluntarily;

           5.         the defendant is competent to enter her plea of guilty; and

           6.         there is an adequate factual basis for her plea.

Id. p. 2. This court adopted the Report and Recommendation and found Chaney guilty on both

counts, (Docket Entry Nos. 82, 94).

             B. The Sentence

           The PSR summarized the offense conduct describing the scheme to defraud residential

mortgage lenders in great detail. (See PSR ~7 - 70). Chaney's role and relevant conduct were

described as follows:

           11. Din Regina Chaney (a.k.a Din Ironkwe) worked in the lending industry as a loan
           officer and loan processor for mortgage brokers including Stephens Development
           Inc., and Gordon Financial Group. Chaney utilized her position as a loan officer as
           well as her contacts within the lending industry to obtain mortgage loans by fraud.
           During the scheme Chaney also acted as a borrower and a seller in a residential
           transaction. Chaney also engaged in "flip transactions" in which she completed
           paperwork as if she were purchasing the residential property while simultaneously
           obtaining financing in the name of a straw borrower to purchase the property.
           Chaney established and used the assumed name entity Panacea Properties in the
           execution of the scheme. She also established bank accounts under the name of
           Panacea Properties. Additionally, several bank accounts were utilized by Chaney to
           move proceeds of the fraudulent loan activity including an account she established
           in the name of Panacea Properties.


           72. The offense involved the coordination of several persons working in various
           capacities (i.e. loan officers, mortgage brokers, recruiters, and real estate agents) to
           further the criminal objectives. Din Regina Chaney worked in the lending industry
           as a loan officer and loan processor for mortgage brokers including Stephens
           Development Inc. and Gordon Financial Group. Chaney established and used an
           assumed name entity and bank account for the purpose of executing the mortgage
           fraud scheme (Panacea Properties). Chaney also participated in the scheme as a


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            purchaser and seller. In addition, Chaney engaged in simultaneous loan transactions
            in which she purchased the property from the seller at one price while simultaneously
            selling the property to a straw borrower at an inflated price. These transactions were
            closed simultaneously so that the loan funds from the straw purchase could be used
            to close the transaction between Chaney and the seller as well. The property
            transactions were structured so that the fraudulently obtained loan proceeds could be
            extracted for the benefit ofthe conspirators and ultimately deposited into one or more
            of the assumed name bank accounts. These fraudulently obtained funds were used,
            in part, to fund future fraudulent property transactions. The manner in which these
            funds were handled concealed the true source and nature of the funds from the lender
            and it was made to appear the funds were funds the borrower had on hand. By way
            of this execution and concealment of the fraudulent conduct, the offense is
            considered complex and intricate in nature. And warrants an enhancement for
            sophisticated means. Chaney was convicted of mail, wire and bank fraud
            (conspiracy) which has a 30-year statutory maximum penalty and, money laundering
            (promotion and concealment). As indicated in the chart above, Chaney is held
            accountable for a total loss of $4,551,917.65 (See attached Chart I for specific
            properties ).

            Chaney is considered an average participant in the scheme which defrauded more
            than 10 victim lenders and involved at least five criminal participants. As a loan
            officer, Chaney abused her position oftrust with the banks, as the false information
            al1d misrepresentations Chaney made were material to the lenders decision to whether
            to fund the residential loans and under what conditions. There is no evidence that the
            defendant derived more than $1,000,000 in gross receipts from the victim lenders.

 (PSR, ~~11, 72).

            The PSR calculated Chaney's total offense level at 30, which included a two-level reduction

 for acceptance of responsibility and an anticipated motion by the government for an additional point

 off for a timely plea, consistent with the plea agreement. A total offense level of 30 and a criminal

 history category of I established an advisory guideline range of 97 to 121 months.

            At the sentencing hearing on July 29,2014, the parties had no objections to the PSR and the

 court adopted it. The government moved for a downward departure under U.S.S.G §5K and

 recommended a 60-month sentence. (ld., p.5). Defense counsel argued for probation. The court

 heard allocution and argument, then summarized its ruling:


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           Looking at both Ms. Chaney's character and her conduct during and after she pleaded
           guilty, looking at the nature and extent of her criminal conduct to which she pleaded
           guilty, looking at all of the factors that 3553(a) permits me to consider, it is the
           court's judgment that an appropriate sentence for Miss Chaney is 36 months. That
           is far lower than the government asked me for. It is far, far lower than where Ms.
           Chaney was simply on the basis of guideline calculations. In the court's judgment,
           it is enough time, in relation to what others in this conspiracy, received, to accurately
           respond to and reflect Ms. Chaney's individual culpability relative to others involved
           in the fraud, to the extent and size of the losses, the scope of the losses that she
           caused, her conduct, and at the same time recognizes the value of her assistance and
           the admirable way in which she has conducted herself since all of this came to light,
           and it is this court's judgment-that is, 36 months as to each of Counts One and Two
           to be served concurrently.

(Id., p. 10-14).

           Chaney's 2255 motion alleges the following four claims:

           "Ground One: Ineffective assistance of counsel. Defense counsel failed to file an
           appeal when the defendant requested that several issues about her case be reviewed."

           "Ground Two: Ineffective assistance of counsel. Defense counsel failed to dispute
           and challenge the "actual loss" amount of restitution that is contributed to the
           defendant. "

           "Ground Three: Violation of constitutional rights. Conviction obtained by plea of
           guilty which was unlawfully induced or not made voluntarily or with understanding
           of the nature of the charge and the consequences of the plea."

           "Ground Four: Ineffective assistance of counsel. Defense counsel failed to explain
           the appeal process to the defendant."

(Docket Entry No. 491, pp. 4, 5, 7, 8).

           The court ordered defense counsel James Alston to file an affidavit addressing the allegations

that he failed to "explain the appeal process to the defendant" and "failed to file an appeal when the

defendant requested that several issues about her case be reviewed." Alston has filed an affidavit

and several notes from his case file. (Docket Entry No. 506).




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III.       The Motion to Dismiss

           A.         The Issues Related to Counsel's Alleged Failure to Consult and File an Appeal

           In Roe v. Flores-Ortega, 528 U.S. 470,480, (2000) the Supreme Court held that the failure

to file a requested notice of appeal is ineffective assistance of counsel without regard to whether the

appeal would have merit. Flores-Ortega, 528 U.S. at 483-86; see also United States v. Tapp,491

F.3d 263 (5th Cir. 2007). Counsel has a constitutionally imposed duty to consult with defendant

about appeal when there is reason to think either that: (1) a rational defendant would want to appeal;

or (2) this defendant reasonably demonstrated to counsel that he was interested in appealing. Id. at

480. And, [a]lthough not determinative, a highly relevant factor in this inquiry will be whether the

conviction follows a trial or a guilty plea, both because a guilty plea reduces the scope of potentially

appealable issues and because such a plea may indicate that the defendant seeks an end to judicial

proceedings." Id.

           If Chaney can demonstrate that she directed counsel to file an appeal on her behalf, she

would be entitled to an out-of-time appeal. Flores-Ortega, 528 U.S. at 477, 120 S. Ct. at 1035. This

rule applies even when, as here, the defendant has waived her right to direct appeal and collateral

review. "[I]fthe Movant is able to demonstrate by a preponderance of the evidence that he requested

an appeal, prejudice will be presumed and the Movant will be entitled to file an out-of-time appeal,

regardless of whether he is able to identify any arguably meritorious grounds for appeal that would

not be precluded by the terms of his appeal waiver." Tapp, 491 F.3d at 266.

           Chaney has made only conclusory allegations in her § 2255 motion. She alleges that

"[ d]efense counsel failed to file an appeal when the defendant requested that several issues about her

case be reviewed," and [d]efense counsel failed to explain the appeal process to the defendant."


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(Docket Entry No. 491 pp. 4, 8). Counsel's affidavit states the following:

           On July 29, 2014, Chaney was sentenced. It is my belief that Chaney and I won at
           sentencing. The PSR reflected a recommended sentencing range of 97 to 121
           months. The government recommended a downward departure to 60 months.
           Chaney was sentenced to 36 months. On July 29,2014 at 3:00 p.m., Chaney sent an
           email to me which stated: "Hi, James, Sorry, I didn't get a chance to talk to you after
           sentencing today. I wanted to say thank you for all your help through this. You were
           very diligent and knowledgeable and I don't think I could have hired a better
           attorney. Please let me know if there is anything else I need to do between now and
           October." This email is attached as Exhibit F.

           At sentencing I asked Judge Rosenthal to give Chaney a delayed surrender date, so
           that Chaney would have time to start her children in school and make arrangements
           for her youngest children. Chaney and I had several email communications between
           the sentencing date and her surrender date and Chaney never asked me to file an
           appeal on her behalf. A copy of these emails is attached as Exhibit G.

(Docket Entry No. 506, p. 2).

           Chaney has failed to adequately allege, much less show by a preponderance of the evidence,

that she asked her lawyer to file an appeal after the sentencing on July 29,2014. Counsel's affidavit

and the communications from Chaney it describes are consistent with the sentencing outcome.

Notwithstanding the advisory Guideline range of 97 to 121 months, and the government's

recommendation of a downward departure to 60 months based on Chaney's substantial assistance

under U.S.S.G. 5KI.l, the court sentenced Chaney to 36 months. Chaney's conclusory allegation

that she "requested that several issues about her case be reviewed" fails to show that she reasonably

communicated to counsel that she was interested in appealing from such a favorable result. Chaney

has not shown, as required by Tapp, that "there is a reasonable probability that, but for counsel's

failure, [s]he would have timely appealed" after her sentencing hearing on July 29, 2014. An

evidentiary hearing is not required to conclude that Chaney has not shown a basis to succeed on these

claims.



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           B.          The Issues Related to Chaney's Allegation that "Counsel Failed to Dispute and
                       Challenge the "Actual Loss" Amount of Restitution.

           Chaney's conclusory allegation that counsel failed to dispute the actual loss and restitution

amount fails to show that he provided deficient or prejudicial representation. Counsel's affidavit

states as follows:

           On March 19,2014, Chaney and I met and discussed the PSR and addendum. We
           discussed specific properties and loss amounts. We also went over my calculations
           of the possible 5K departure amount of her sentence. My notes from this meeting are
           attached as Exhibit D.

           On April 10, 2014, Chaney and I spoke by telephone. We discussed the loss
           calculations and the amount of loss Chaney may be held responsible for if we
           happened to win any objections to the loss amount. Chaney and I both agreed that
           we should not file any objections to the loss amount. Chaney and I both thought and
           agreed that she had a better chance of getting a lower sentence recommendation from
           the prosecutor and ultimately from Judge Rosenthal if we did not file objections to
           the loss amount. Additionally, the projected objections to the loss amount, if
           sustained would not likely decrease Chaney's loss amount below $2.5 million. My
           notes from this telephone conversation are included as Exhibit E.

(Docket Entry No. 506).                      Exhibits D and E are counsel's detailed, dated, handwritten,

contemporaneous notes. They corroborate the affidavit. The final note in Exhibit E states: "-Spoke

to client & went over possible objections & client agreed that we should not file objections."

           Chaney's one-sentence allegation includes no details on these issues and no support. "[M]ere

conclusory allegations on a critical issue are insufficient to raise a constitutional issue." Id. (citing

United States v. Woods, 870 F.2d 285, 288 n.3 (5th Cir. 1989).               A preponderance of the record

evidence shows that Chaney's allegation lacks merit.

           C.         The Issues Raised By Chaney's Claim That Her Guilty Plea "Was Unlawfully
                      Induced Or Not Made Voluntarily Or With Understanding ofthe Nature ofthe
                      Charge and the Consequences of the Plea.

           Chaney voluntarily waived the right to file an appeal or postconviction challenge to her

conviction or sentence. An informed and voluntary waiver of the right to file a 28 U.S.C. § 2255

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motion will be enforced. United States v. Wilkes, 20 F.3d 651,653 (5th Cir. 1994). Chaney's sworn

statements preclude the relief she seeks. Chaney knew the potential punishment she faced. Her plea

was knowing and voluntary, and no one forced or coerced her to plead guilty or to waive the right

to appeal and file a collateral challenge.

            Chaney's sworn statements in open court are entitled to a strong presumption of truthfulness.

United States v. Lampaziane, 251 F.3d 519,524 (5th Cir. 2001) (citing Blackledge v. Allison, 431

U.S. 63, 74 (1977)). The Fifth Circuit gives "great weight to the defendant's statements at the plea

colloquy." United States v. Cothran, 302 F.3d 279, 283-84 (5th Cir. 2002).

            The record supports the conclusions that:

            (1)          the plea agreement and waiver were knowing and voluntary;

            (2)          the waiver provision in the plea agreement is enforceable; and,

            (3)          the waiver and the record precl ude Chaney from asserting the grounds
                         she raises in her § 2255 motion as a basis for the relief she seeks.

IV.         Conclusion

            The § 2255 motion is dismissed with prejudice. A certificate of appealability will not issue

because Chaney has not shown a substantial basis to find the denial of a constitutional right.

            SIGNED on September 17,2015, at Houston, Texas.




                                                                                       Lee H. Rosenthal
                                                                                 United States District Judge




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